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SO ORDERED.
SIGNED this 8th day of November, 2021


THIS ORDER HAS BEEN ENTERED ON THE DOCKET.
PLEASE SEE DOCKET FOR ENTRY DATE.



   _____________________________________________________________



                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF TENNESSEE
                                   SOUTHERN DIVISION

   IN RE:
                                                            Case No. 1:20-bk-12728-SDR
   MICHAEL ALLEN MIXSON                                     Chapter 11

            Debtor.



                      AGREED ORDER RESOLVING QUICKEN LOANS, LLC’S
                              OBJECTION TO CONFIRMATION

            This matter is before the Court on the Objection to Confirmation of the Debtor’s

   Amended Chapter 11 Plan filed by Quicken Loans, LLC (“Quicken”). See [Doc. 160] (the

   “Objection”). In the Objection, Quicken argues that the Debtor, in his Amended Chapter 11 Plan

   [Doc. 159] (the “Plan”), is attempting to impermissibly modify its claim, which is secured only

   by the Debtor’s principal residence. See [Doc. 160].

            As evidenced by the signatures of counsel below, the Parties have come to an agreement

   on all matters raised in the Objection. Section 3.4 of the Plan, which describes the treatment of

   Class 4, which is Quicken’s claim, is hereby deleted in its entirety and replaced with the


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 following, which shall supersede any contrary terms should the Debtor filed any further amended

 plans:

                   3.4 Class 4-Quicken Loans. Quicken Loans (“Quicken”) (Class 4) shall
          be paid its Allowed Secured Claim of $283,612.37, more or less, secured by a
          first lien on Debtor’s residence located at 6903 Jesse Conner Road, Chattanooga,
          TN 37421. Creditor’s Allowed Secured Claim shall be paid per the contract terms
          until the Allowed Secured Claim is paid in full. This Creditor is not impaired, and
          no terms of its claim are modified in any way.

                                             ###


 PREPARED BY AND CONSENTED TO:

 /s/ Bret J. Chaness
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 CONSENTED TO:

 SCARBOROUGH & FULTON

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